





















Opinion issued April 28, 2011.



In The

Court of
Appeals

For The

First District
of Texas

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NOS. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 01-10-00158-CR

01-10-00159-CR

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 01-10-00248-CR

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 01-10-00249-CR

———————————

Darren Ray Castleberry, Appellant

V.

State of
Texas, Appellee



&nbsp;



&nbsp;

On Appeal from the 177th District Court

Harris County, Texas



Trial Court Case Nos. 1207044,

1207045, 1055476, and 1067198 

&nbsp;



O P I N I O N

The State
issued an indictment charging Darren Ray Castleberry with four felony offenses,
two involving sexual assault of a child under seventeen years of age and the
other two involving sexual assault of a child under fourteen years of age.&nbsp; After the trial court denied Castleberry’s
pre-trial motion to suppress, he pleaded guilty to the charges of sexual assault
of a child under seventeen years of age without an agreement with the State as
to punishment.&nbsp; On the remaining charges,
Castleberry pleaded not guilty and waived his right to a jury trial.&nbsp; After a bench trial, the court found
Castleberry guilty of the two charges of sexual assault of a child under
fourteen years of age.&nbsp; The trial court
assessed punishment of twenty years’ imprisonment for the two charges to which
Castleberry had admitted guilt and life in prison for the tried charges.&nbsp; On appeal, Castleberry contends that the
trial court erred in denying his motion to suppress.&nbsp; Finding no error, we affirm.

Background

Castleberry started sexually
assaulting his stepdaughter, P., when she was eight years old.&nbsp; When P. and a fourth-grade classmate, A., became
close friends, A. began to spend the night at P.’s house on weekends and
holidays.&nbsp; Within a couple of years,
Castleberry sexually assaulted A. as well as P.&nbsp;
During some incidents, Castleberry would photograph the girls while they
engaged in sexual conduct, plying them with alcohol and instructing them on
what to wear and how to pose.&nbsp; 

The abuse of both girls continued
until 2003, when Castleberry took a job overseas.&nbsp; By then, P. and her mother had moved to live
with P.’s grandfather, and Castleberry no longer lived with them.&nbsp; Before leaving, Castleberry gave P. a lockbox
and key to keep for him while he was gone.&nbsp;
He did not tell her what was inside the lockbox, but instructed her to
destroy it and its contents if anything happened to him.&nbsp; P., who was seventeen years old at the time, agreed,
and stored the lockbox in the closet of the room she had in her grandfather’s
house.&nbsp; 

Castleberry remained overseas for
several years.&nbsp; In late December 2005, when
P. was nineteen years old, she finally told her mother about the sexual
abuse.&nbsp; Her mother called the police, who
told P. to stop all contact with Castleberry.&nbsp;
P., fearing that Castleberry would return to kill her, quit her job in
Houston and moved to her uncle’s home in Dallas a few days later.&nbsp; While traveling there, P. called her mother,
told her about the lockbox, and asked her to give it to the police.&nbsp; 

P.’s mother retrieved the lockbox.&nbsp; Before bringing it to the police, she opened
it to find computer disks, floppy disks, printed photographs, and other
materials.&nbsp; On one of the disks,
Castleberry had written “For My Eyes Only.”&nbsp;
P.’s mother opened it on a computer and saw that it contained over 300
pornographic images of P. and A. 

In the meantime, P. contacted
Castleberry’s girlfriend overseas and sent her an Internet link to the local
news story on the police investigation.&nbsp; When
Castleberry learned that criminal charges were pending against him in Texas, he
quit his job in Kuwait and became a fugitive.&nbsp;
Approximately three years later, in January 2009, the authorities
located Castleberry in Thailand, arrested him, and returned him to the United
States to face the charges.&nbsp; 

Motion to Suppress

In his sole issue on appeal,
Castleberry challenges the trial court’s denial of his motion to suppress.&nbsp; We review the trial court’s ruling on a
motion to suppress for abuse of discretion. &nbsp;Shepherd
v. State, 273 S.W.3d 681, 684 (Tex. Crim. App. 2008). &nbsp;We view the evidence in the light most
favorable to the trial court’s ruling. &nbsp;Wiede v. State, 214 S.W.3d 17, 24 (Tex. Crim.
App. 2007) (quoting State v. Kelly,
204 S.W.3d 808, 818 (Tex. Crim. App. 2006)). The trial judge is the “sole trier
of fact and judge of credibility of the witnesses and the weight to be given to
their testimony.”&nbsp; St. George v. State, 237 S.W.3d 720, 725 (Tex. Crim. App. 2007). &nbsp;The trial court may choose to believe or
disbelieve any part or all of a witness’s testimony. &nbsp;Green v.
State, 934 S.W.2d 92, 98 (Tex. Crim. App.1996) (citing Allridge v. State, 850 S.W.2d 471, 492 (Tex. Crim. App.1991)). &nbsp;We defer to a trial court’s express or implied
determination of historical facts, as well as to its application of law to fact
questions if those questions turn on the evaluation of a witness’s credibility
and demeanor. &nbsp;See Guzman v. State, 955 S.W.2d 85, 89 (Tex. Crim. App. 1997). &nbsp;We sustain the trial court’s ruling if it is
reasonably supported by the record and correct on any theory of law applicable
to the case. &nbsp;Laney v. State, 117 S.W.3d 854, 857 (Tex. Crim. App. 2003) (citing Willover v. State, 70 S.W.3d 841, 845
(Tex. Crim. App. 2002)).

Castleberry contends that the
warrantless seizure of the lockbox violated his privacy rights under the state
and federal constitutions.&nbsp; See U.S.
Const. amend. IV; Tex. Const.
Art. 1, § 9.&nbsp; “A ‘seizure’ of property
occurs when there is some meaningful interference with an individual’s
possessory interests in that property.”&nbsp; United States v. Jacobsen, 466 U.S.
109, 113, 104 S. Ct. 1652, 1656 (1984).&nbsp; An
accused has standing to contest the seizure of personal property under the
Fourth Amendment only if he has a possessory interest and a legitimate
expectation of privacy in the property. &nbsp;See id. at 121–22, 104 S. Ct. at 1661–62;
Rakas v. Illinois, 439 U.S. 128, 143,
99 S. Ct. 421, 430 (1978) (holding that “capacity to claim the protection of
the Fourth Amendment depends upon whether the person who claims the protection
of the Amendment has a legitimate expectation of privacy in the invaded
place”);Villarreal v. State, 935
S.W.2d 134, 138 (Tex. Crim. App. 1996) (“An accused has standing, under both
constitutional provisions, to challenge the admission of evidence obtained by a
governmental intrusion only if he had a legitimate expectation of privacy in
the place invaded.” (citing Rakas, 439
U.S. at 143, 99 S. Ct. at 430)).&nbsp; In
claiming that he had a reasonable expectation of privacy in the lockbox at the
time it was seized, Castleberry relies on evidence that: (1) he never intended
to abandon the lockbox; (2) he wanted P. to keep the lockbox safe for him while
he was overseas; and (3) he never gave anyone authority, permission, or consent
to open or view the contents of the lockbox, except for his instruction to P.
that she destroy the lockbox and its contents if anything should happen to him.&nbsp; Castleberry likens his agreement with P. to a
bailment agreement.&nbsp; Under well-settled
Texas law, however, a minor is bound by an agreement only if she chooses to
be.&nbsp; Dairyland
Cnty. Mut. Ins. Co. v. Roman, 498 S.W.2d 154, 158 (Tex. 1973); Swain v. Wiley College, 74 S.W.3d 143,
146–47 (Tex. App.—Texarkana 2002, no pet.); see
Tex. Civ. Prac. &amp; Rem Code Ann.
§&nbsp;129.001 (West 2005) (“The age of majority in this state is 18 years.”); see also Youngblood v. State, 658 S.W.2d 598, 599 (Tex. Crim. App. 1983)
(“[I]t is risky business for an adult to knowingly enter into a contract with a
person under the age of 18.&nbsp;.&nbsp;.&nbsp; because the adult is on notice
that as a matter of law the minor can during his minority avoid and disaffirm
the contract.”). &nbsp;As a result,
Castleberry could not reasonably rely on his agreement with seventeen-year-old
P. to protect his privacy in the lockbox and its contents.

Further, the relevant question is
not whether an effective bailment existed, but whether P. had mutual access to
and control over the lockbox.&nbsp; See Welch v. State, 93 S.W.3d 50, 55
(Tex. Crim. App. 2002).&nbsp; The record shows
that Castleberry gave P. both the lockbox and its key before he went
overseas.&nbsp; Castleberry thus made no
effort to secure the privacy of the lockbox’s contents as against P., giving P.
mutual, if not superior, access to and control over them.&nbsp; See id.;
see also United States v. Osunegbu,
822 F.2d 472, 480 (5th Cir. 1987) (manager of private mailbox facility had
authority to consent to search of defendant’s mailbox where front of box was locked
but back was open to access by employees sorting and arranging mail).&nbsp; 

The record also shows that
Castleberry never forbade P. from accessing the contents of the lockbox.&nbsp; The circumstances indicate that Castleberry
assumed the risk that P. would consent to its seizure.&nbsp; See Welch,
93 S.W.3d at 57.&nbsp; After giving P. full
access to and control over the lockbox and its contents, Castleberry could not
have a reasonable expectation of privacy in them.&nbsp; We therefore hold that Castleberry lacked
standing to challenge the seizure, and the trial court correctly denied his
motion to suppress.&nbsp; 

Conclusion

We hold that the trial court did
not abuse its discretion in denying Castleberry’s motion to suppress.&nbsp; We therefore affirm the judgment of the trial
court.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Jane
Bland

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice


&nbsp;

Panel
consists of Chief Justice Radack and Justices Alcala and Bland.

Publish.&nbsp; &nbsp;Tex. R. App. P. 47.2(b).





